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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF NEW YORK


DAVID PETERSEN, WAYNE
LITCHFIELD, CHRISTY OGRODOSKI,
LINDA JOHNSON, and WILLIAM
COHEN, individually and on behalf of all
others similarly situated,

              Plaintiffs,

       v.                                    Case No. 19 Civ. 00741 (LJV)

CHASE CARD FUNDING, LLC, CHASE
ISSUANCE TRUST, and WILMINGTON
TRUST COMPANY, as Trustee of Chase
Issuance Trust,

              Defendants.


            BRIEF OF AMICI CURIAE THE BANK POLICY INSTITUTE
               AND THE STRUCTURED FINANCE ASSOCIATION
             IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
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               Amici Curiae, the Bank Policy Institute (“BPI”) and the Structured Finance

Association (“SFA”), by their counsel Sullivan & Cromwell LLP and Mayer Brown LLP,

respectfully submit this brief in support of Defendants’ Motion to Dismiss.1

                                INTEREST OF AMICI CURIAE

               BPI is a nonpartisan public policy, research, and advocacy group, representing the

nation’s leading banks. BPI’s members include universal banks, regional banks, and major foreign

banks doing business in the United States. Collectively, BPI members employ nearly two million

Americans, make 72% of all loans, including nearly half of the nation’s small business loans, and

serve as an engine for financial innovation and economic growth.

               SFA is a member-based trade industry advocacy group focused on improving and

strengthening the structured finance and securitization market. SFA has over 360 members

representing all sectors of the securitization market, including investors, issuers, financial

intermediaries, law firms, accounting firms, technology firms, rating agencies, servicers, and

trustees. SFA’s core mission is to support a robust and liquid securitization market, recognizing

that securitization is an essential source of core funding for the real economy. As of the end of

2018, securitization transactions were the source of more than $11.3 trillion in funding for the U.S.

economy.2 This amount represented more than 50% of aggregate outstanding U.S. household




1
        No counsel for any party authored this brief in whole or in part, and no person other than
Amici or their counsel contributed any money to fund its preparation or submission. Neither of the
Amici is a subsidiary or affiliate of any publicly-owned corporation.
2
        See Sec. Indus. & Fin. Mkts. Ass’n, US ABS Issuance and Outstanding (July 1, 2019),
https://www.sifma.org/resources/research/us-abs-issuance-and-outstanding/; Sec. Indus. & Fin.
Mkts. Ass’n, US Mortgage-Related Issuance and Outstanding (July 1, 2019),
https://www.sifma.org/resources/research/us-mortgage-related-issuance-and-outstanding/.
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debt—including 69% of residential mortgage debt, 17% of automobile debt, 12% of student loan

debt, and 14% of credit card debt.

               Amici’s members—which include banks and other financial institutions that

routinely originate, purchase, and securitize loans—have a substantial interest in this action,

because Plaintiff’s claims threaten to disrupt radically the multi-trillion dollar U.S. securitization

market, which courts and regulators have long recognized as a cornerstone of the U.S. credit

markets. Specifically, Plaintiff seeks to negate the long-standing federal preemption of state usury

laws as to loans originated by national banks after their receivables are securitized, thus

substantially undermining the ability of national banks and other lending institutions to securitize

many types of consumer and small business debt and, in turn, leading to higher interest rates and

a contraction in the availability of credit. Amici respectfully submit this brief in support of

Defendants’ motion to dismiss Plaintiff’s claims with prejudice.

                                PRELIMINARY STATEMENT

               Securitization—the process of converting a stream of future income (such as

payments on credit card debt) or other assets into cash by issuing securities that are backed by such

income stream or other assets—is a long-standing and critical mechanism for expanding the

availability of credit to all corners of the U.S. economy. Plaintiff’s claims, if allowed to proceed,

threaten the entire structure of securitization. In this brief, Amici explain to this Court (i) how

securitizations work, why the securitization at issue in this case is consistent with general

securitization practices, and how securitization is a widespread tool for the provision of credit

throughout the United States, (ii) why the National Bank Act, the Dodd-Frank Act, and the Second

Circuit’s decision in Madden v. Midland Funding plainly preclude Plaintiff’s argument that federal

preemption of state usury law for loans originated by national banks no longer applies if the




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receivables on those loans are securitized, and (iii) why adoption of Plaintiff’s arguments here

would dramatically upset the settled expectations of the lending industry and harm lenders,

borrowers, and investors, as well as small businesses and individuals across the country.

                                           DISCUSSION

I.     SECURITIZATION IS CRITICAL TO THE HEALTH OF THE LENDING
       MARKETS AND, MORE BROADLY, THE NATIONAL AND STATE
       ECONOMIES.

       A.      The Structure of Securitizations

               The basic process of securitizing cash flows has existed as a financing tool for

hundreds of years. See Bonnie Buchanan, Back to the Future: 900 Years of Securitization, 15 J.

Risk Fin. 316 (2014). Securitizations have become a more prevalent feature in the lending markets

since the 1970s, and have grown into a multi-billion dollar market sector.3 At a high level, a

securitization is built in five steps. For illustrative purposes, the process for a credit card

securitization (the type at issue here) is explained below, but the process is similar for

securitizations of other types of assets, including consumer loans and commercial loans.

               First, a bank makes credit card loans to consumers and small businesses—in the

securitization context, this is also called “originating” loans. In a typical credit card loan, a bank

extends credit to a borrower in exchange for the borrower’s promise to make payments of principal,

interest, and fees—collectively known as “receivables.”4 Credit card receivables are severable

from the underlying credit card account, which means that the originating bank retains ownership


3
        See U.S. Dep’t of the Treasury, A Financial System That Creates Economic Opportunities:
Capital Markets 92–94 (2017) (“Treasury Report”), https://www.treasury.gov/press-center/press-
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4
        See Bd. of Governors of the Fed. Reserve Sys., Report to the Congress on Risk Retention
19     (2010)     (“Board     Report”),  https://www.federalreserve.gov/boarddocs/rptcongress/
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of the credit card account, the obligation to fund future credit card purchases, and the right to

charge interest and fees, but can separately securitize (i.e., finance) the cash flows from the

borrower’s payment of principal, interest, and fees on the loan.

                Second, a “sponsor” identifies, or “designates,” a number of credit card accounts

and pools together the receivables from various loans originated in these accounts. The sponsor

is typically the originating bank itself, but can also be an originating bank’s affiliate or another

entity that has purchased receivables from the originating bank.

                Third, the sponsor sells the pool of receivables from the designated credit card

accounts to an entity called the “depositor,” which is typically a wholly owned but legally separate

subsidiary of the sponsor. Note that in a credit card securitization, the sponsor sells the receivables

and the right to purchase future receivables generated in the designated credit card accounts, but

the originating financial institution retains the underlying credit card accounts.5 The purpose of

selling the receivables to the depositor before they are securitized is to separate legally (i.e., isolate)

the receivables from the originating financial institution, as securitization investors are looking to

take on the risk and reward of the performance of the specific securitized assets, but not the credit

risk of the originating bank or sponsor. FDIC Manual, supra note 5, at 5. This separation ensures

that investors in the securitization are protected from the risk of the sponsor’s potential insolvency,

but it also means that investors can only look to the receivables for repayment of their investment.

Id. at 10; Board Report, supra note 4, at 10. For this reason, the depositor is typically a “single

purpose entity” (or “SPE”) that has no assets other than the receivables and no liabilities, no



5
       See Fed. Deposit Ins. Corp., Credit Card Securitization Manual 10–11 (2007) (“FDIC
Manual”),             https://www.fdic.gov/regulations/examinations/credit_card_securitization/
pdf_version/index.html (“The financial institution retains legal ownership of the credit card
accounts and can continue to change the terms on the accounts.”).



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employees, and no operations. It acts solely as a conduit for transferring the receivables to the

“issuer.”

                Fourth, the depositor sells the receivables and the right to purchase future

receivables from the credit card accounts to an “issuer,” typically a trust. The issuer is also an

SPE, but, unlike the depositor, may not be a corporate affiliate of the sponsor or depositor. FDIC

Manual, supra note 5, at 9–10. Through an investment bank underwriter, the issuer then sells

interest-bearing securities (usually notes) to investors. Id. at 8. In this transaction, payment by the

issuer on the investors’ securities is “backed” by the receivables, which is why the securities are

referred to as “asset-backed securities.” In other words, once credit card accounts are designated

for a securitization, the funds from credit card borrowers’ payment of principal, interest, and fees

on those accounts are used to pay the interest and other amounts owed to investors on the securities.

Id. at 11–12. Using the proceeds of the securities issuance, the issuer pays the depositor for the

receivables, who in turn pays the sponsor. Id. at 9. “Credit card trusts typically require the

transferor”—i.e., the sponsor—“to maintain an ownership interest (referred to as the transferor’s

participation or seller’s interest) in the trust, often in the range of 4%‒7%.”6 This requirement

means that the sponsor will have continuing exposure to the credit performance of the securitized

receivables after their sale, which is designed to “align[] the interests of the investor and the

securitizer.” Board Report, supra note 4, at 45.7 Most sponsors of credit card securitizations

satisfy the risk retention requirements by retaining a seller’s interest in the asset portfolio.


6
        See FitchRatings, Credit Card ABS Rating Criteria 15 (2019) (“Fitch Criteria”),
https://www.fitchratings.com/site/re/10074846.
7
        While this risk retention requirement has long been a feature of credit card securitizations,
a similar requirement is now mandated under the Dodd-Frank Act for most securitizations. See
Dodd-Frank Wall Street Reform and Consumer Protection Act § 941(b), 15 U.S.C. § 78o-11(b)(1)
(2012) (a “securitizer [is required] to retain an economic interest in a portion of the credit risk for
any asset that the securitizer, through the issuance of an asset-backed security, transfers, sells, or


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               Fifth, the sponsor will often use the cash from the securities issuances, directly or

indirectly, to make new advances to credit card holders (if the sponsor is the originating bank) or

to buy new receivables from the originator (if the sponsor is a purchaser), which are then (through

the same process described above) sold to the trust. See Board Report, supra note 4, at 19; FDIC

Manual, supra note 5, at 11–12. The reason for this is that investors are typically interested in

longer-term investments, and so asset-backed securities are often issued for durations of one or

more years. However, the typical credit card receivable lasts only several months (i.e., most credit

card borrowers repay loans in that time frame), and so the trust constantly acquires new receivables

to pay interest and other amounts due on the securities. Fitch Criteria, supra note 6, at 3; FDIC

Manual, supra note 5, at 11.

               The preceding steps are illustrated in the following diagram:




conveys to a third party”); see also 17 C.F.R. §§ 246.1–246.22 (implementing section 941 of the
Dodd-Frank Act).



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       B.     The Structure of the Securitization at Issue Here Is Consistent With the
              Typical Structure of Credit Card Securitizations by Numerous Other Banks.

              As described in the Complaint, the securitization at issue in this case was created

using the same structure described above. Plaintiff’s credit card loans were originated by Chase

Bank USA, N.A. (“Chase USA”), a national bank.8 As the sponsor of the securitization, Chase

USA then sold the receivables associated with Plaintiff’s accounts—but not the underlying

accounts themselves—to the depositor, Defendant Chase Card Funding LLC. Chase Card Funding



8
        See Mem. in Supp. of Mot. to Dismiss by Defs. (“Mot. to Dismiss”), Dkt. No. 21-1, at 6
n.1. On May 18, 2019, Chase USA was merged into JPMorgan Chase Bank, N.A., which is also
a national bank. See id.; Compl., Dkt. No. 1, ¶ 56 n.5.



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LLC, in turn, transferred the receivables to Defendant Chase Issuance Trust, the issuer. Chase

Issuance Trust then sold securities to investors, backed by the credit card receivables, and used the

proceeds from the securities sales to pay Chase Card Funding LLC for the receivables it purchased.

See Class Action Compl. (“Compl.”), Dkt. No. 1, ¶¶ 57–59, 63; Mot. to Dismiss, Dkt. No. 21-1,

at 6–7 & n.1.

                Both the Complaint and the transaction documents governing the securitization at

issue make clear that Chase USA’s successor, JPMorgan Chase Bank, N.A. (“JPMCB”), is the

owner of Plaintiff’s credit card accounts. They also make clear that JPMCB is the entity with

which Plaintiff has the lending relationship. See Mot. to Dismiss, at 6–7; see also supra Section

I.A, at 3–4.

       C.       Securitizations Create Opportunities for Investors While Reducing Costs for
                Borrowing Households and Businesses.

                Prior to the advent of modern securitization techniques in the 1970s, banks that

issued loans would typically hold them through the lifetime of the loan—known as “portfolio

lending.”9 There were, however, several drawbacks to this model. Most significantly, with

portfolio lending, a bank’s funds available for loans were limited by the bank’s deposits and debt,

resulting in a necessary limitation on how many loans could be offered and how competitive the

terms could be. Additionally, the process of lending and then holding the loans could expose banks

to high levels of risk—for example, if a bank specialized in lending in a particular geographic or

market sector, an economic downturn in that sector could place significant financial pressure on

the bank. See Board Report, supra note 4, at 8–9. The development of modern securitization


9
       Comptroller of the Currency, Asset Securitization: Comptroller’s Handbook 2 (1997)
(“Comptroller’s        Handbook”),            https://www.occ.gov/publications/publications-by-
type/comptrollers-handbook/asset-securitization/pub-ch-asset-securitization.pdf.



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alleviated these problems and simultaneously created new economic opportunities for banks,

borrowers, and investors.

                For banks, securitization offered a new method to raise funds, allowing them to

expand lending. With this increased funding, the bank can “leverage origination skills and systems

capacity by increasing the volume of transactions that pass through the bank,” thus generating

economies of scale.      FDIC Manual, supra note 5, at 5.          Indeed, securitization led to the

development of a whole new class of competitors in the lending industry. For example, in the

credit card market, securitization facilitated the expansion of banks that focused primarily on credit

card lending.10 Although banks typically retain (directly or indirectly) some interest in the

securitized receivables and continue to be exposed in a more limited manner to the performance

or credit risk of these receivables, securitization also offers banks a way to spread the risks inherent

in portfolio lending. For example, securitization “allows financial institutions that primarily

originate loans to particular classes of borrowers, or in particular geographic areas, to limit

concentrated exposure to these idiosyncratic risks.” Board Report, supra note 4, at 8–9. Similarly,

securitization can be a critical aspect of a bank’s diversified funding and liquidity strategy, as

securitization allows a bank to convert receivables into cash, which can then be redeployed to

provide additional credit to consumers and small businesses. See Opstal, supra note 10, at 9;

Board Report, supra note 4, at 8.

                Lowering the cost to banks of financing credit card advances allows them to charge

lower rates to consumers and small businesses. From the outset of securitizations, they have



10
       See James van Opstal, Funding Credit Card Loans: Current and Future Considerations 2
(2013) (Fed. Reserve Bank of Phila. Discussion Paper), https://www.phil.frb.org/-
/media/consumer-finance-institute/payment-cards-center/publications/discussion-papers/2013/D-
2013-November-Funding-Credit-Card-Loans.pdf.



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reduced the cost of credit to borrowers. See, e.g., Comptroller’s Handbook, supra note 9, at 5

(“Credit card lenders can originate very large loan pools for a diverse customer base at lower rates

than if they had to fund the loans on their balance sheet.”). Moreover, additional sources of funding

allowed banks to provide credit to underserved areas of the economy, including consumers and

small businesses with lower credit scores that otherwise would lack access to the banking system.

Id. (noting that securitization of credit card debt “significantly expanded both the availability of

credit and the pool of cardholders”).11

               In fact, the widespread use of credit cards as a payment mechanism heightens their

significance even beyond their utility as a source of credit. Consumers depend upon revolving

credit cards in virtually every aspect of their economic life. In the second quarter of 2019 alone,

the volume of credit card transactions using MasterCard, Visa, American Express, and Discover

credit cards totaled $1.028 trillion in gross dollar volume in the United States,12 and as of June

2019, there were $1.07 trillion in outstanding revolving consumer credit balances. 13 Moreover, a

substantial majority of consumer-facing businesses accept revolving credit cards as a primary

means of payment. Consumers who are excluded from credit card issuance are also effectively

excluded from many aspects of the daily economy, from making online purchases, to renting a car

or reserving a hotel room.


11
       See also James A. Wilcox, Securitization and Small Business 2 (Fed. Reserve Bank of S.F.,
Economic Letter 2011-22, 2011), https://www.frbsf.org/economic-research/files/el2011-22.pdf
(“[T]he growth of securitized markets has significantly increased access to credit for small
businesses . . . .”).
12
        Robert McKinley, Second-Quarter Card Volume for Major 4 Falls 100 bps, CardFlash
(Aug. 2, 2019), https://cardflash.com/news/2019/08/second-quarter-card-volume-for-major-4-
falls-100-bps/ (citing data compiled by CardData).
13
       See Bd. of Governors of the Fed. Reserve Sys., Statistical Release G.19: Consumer Credit
June 2019 1 (2019), https://www.federalreserve.gov/releases/g19/current/g19.pdf.



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               Finally, securitization substantially benefits investors by making it easier to invest

in the credit markets. To start, securitization permits investment in a particular class of assets

without exposure to the originator’s credit risk. For example, in the context of a credit card

securitization, an investor is able to limit its credit risk to the performance of the receivables in a

basket of credit card accounts, rather than being exposed to the credit risk of the originating bank.

See FDIC Manual, supra note 5, at 5.            The investment opportunities made possible by

securitization are particularly attractive for institutional investors—such as pension funds,

insurance companies, fund managers, and domestic and foreign commercial banks—which need

long-term, predictable cash flows. Id. at 7. Moreover, securitizations are attractive investments

because of “their diversification benefits, liquidity, and yield.” Treasury Report, supra note 3, at

18.14 Securitizations also offer a high degree of flexibility to investors because the payment

streams and credit enhancements can be structured to meet investors’ particular requirements or

investment standards.

               Because of securitizations’ potential to create value for all of these participants in

the credit markets, the U.S. Government has explicitly recognized that securitization “can be a

vital financial tool to facilitate growth in our domestic economy,” and that securitization should

be viewed “as a byproduct of, and safeguard to, America’s global financial leadership.” Treasury

Report, supra note 3, at 91.




14
        See also Fed. Reserve Bank of Phila., Asset-Backed Securities and Credit Cards: Update
4 (2004), https://www.philadelphiafed.org/-/media/consumer-finance-institute/payment-cards-
center/publications/update-newsletter/2004/winter/winter_2004.pdf?la=en (“AAA-rated credit
card asset-backed securities provide higher yields for lower perceived risk than similarly rated
corporate bonds.”).



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       D.      Securitization Is a Widespread Practice in the Economy.

               Given securitization’s utility to investors, banks, consumers, and small businesses,

securitization has grown to become a vital element of the national economy. As of the end of the

first quarter in 2019, there were over $11.37 trillion in outstanding mortgage-backed securities

(“MBS”) and asset-backed securities (“ABS”), of which about $119 billion were issued in credit

card securitizations—the type of securitization at issue in this case.15 These totals have been fueled

by robust issuances—in the second quarter of 2019 alone, there were over $500 billion in new

MBS and ABS issuances, of which nearly $2.8 billion were issued in credit card securitizations.

Id. The MBS and ABS markets have also produced a healthy market in secondary trading, with

the average daily trading volume for MBS and ABS exceeding $263 billion in the first quarter of

2019, including an average daily trading volume of $227 million for securities backed by credit

card receivables.16

               These levels of securitizations have allowed substantial investment into lending

markets. According to data released by the Federal Reserve Bank of New York, U.S. households

hold $848 billion in credit card debt as of the end of the first quarter in 2019.17 As noted above,

$119 billion of this debt—or approximately 14%—is held in credit card securitizations,




15
        See Sec. Indus. & Fin. Mkts. Ass’n, US ABS Issuance and Outstanding (July 1, 2019),
https://www.sifma.org/resources/research/us-abs-issuance-and-outstanding/; Sec. Indus. & Fin.
Mkts. Ass’n, US Mortgage-Related Issuance and Outstanding (July 1, 2019),
https://www.sifma.org/resources/research/us-mortgage-related-issuance-and-outstanding/.
16
        See Sec. Indus. & Fin. Mkts. Ass’n, US SF Trading Volume (August 1, 2019),
https://www.sifma.org/resources/research/us-sf-trading-volume/.
17
       See Fed. Reserve Bank of N.Y., Quarterly Report on Household Debt and Credit 2019:Q1
(2019), https://www.newyorkfed.org/microeconomics/hhdc.html.



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representing billions of dollars of loans that might not otherwise be made to households and

businesses without the access to funding that securitizations provide.

II.     THE NBA HAS LONG PREEMPTED THE APPLICATION OF STATE USURY
        LAWS TO LOANS ORIGINATED BY NATIONAL BANKS, EVEN AFTER
        THOSE LOANS ARE SECURITIZED.

        A.     Courts Have Unanimously Held That a Loan’s Securitization Does Not Affect
               Congress’ Clear Preemption of State Usury Laws for National Banks.

               In passing the National Bank Act (“NBA”) in 1864, “Congress intended to facilitate

. . . a ‘national banking system.’” Marquette Nat’l Bank of Minneapolis v. First of Omaha Serv.

Corp., 439 U.S. 299, 314–15 (1978) (quoting Cong. Globe, 38th Cong., 1st Sess. 1451 (1864)

(statement of Rep. Hooper)). To achieve this purpose, the NBA sought to insulate national banks

from “the hazard of unfriendly legislation by the States.” Tiffany v. Nat’l Bank of Mo., 85 U.S.

409, 413 (1873).

               Accordingly, under NBA Section 85, national banks are permitted to “charge on

any loan . . . interest at the rate allowed by the laws of the State, Territory, or District where the

bank is located,” 12 U.S.C. § 85 (2012), rather than complying with local law in every jurisdiction

in which the bank lends.18 NBA Section 86 then provides the exclusive remedy for a bank’s

charging of interest at a rate greater than permitted by Section 85. Id. § 86. Courts have long




18
       Although this case concerns a national bank, the same analysis would apply to an FDIC-
insured state-chartered bank. Section 27 of the Federal Deposit Insurance Act (“FDIA”), 12 U.S.C.
§ 1831d (2012), “borrow[s] from . . . §85 and incorporate[s]” its language to “achieve[] parity
between national banks and their state-chartered counterparts.” Greenwood Tr. Co. v.
Massachusetts, 971 F.2d 818, 827 (1st Cir. 1992). For this reason, courts have held that Section 85
of the NBA and Section 27 of the FDIA “should be interpreted the same way.” Id.; accord
Discover Bank v. Vaden, 489 F.3d 594, 606 (4th Cir. 2007), rev’d on other grounds, 556 U.S. 49
(2009). The preemption likewise applies to similar provisions governing savings associations, see
12 U.S.C. § 1463(g) (2012); Cole v. Stephen Einstein & Assocs., P.C., 365 F. Supp. 3d 319, 333
(W.D.N.Y. 2019), and credit unions, see 12 U.S.C. § 1785(g) (2012).



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recognized that together these two sections completely preempt the application of state usury law

to loans originated by a national bank. See, e.g., Beneficial Nat’l Bank v. Anderson, 539 U.S. 1,

11 (2003) (“[T]here is . . . no such thing as a state-law claim of usury against a national bank.”);

Marquette, 439 U.S. at 318 & n.31 (“To the extent the enumerated federal rates of interest are

greater than permissible state rates, state usury laws must, of course, give way to the federal

statute.”).

                Plaintiff in this case does not dispute this well-settled law, but instead claims that

when the receivables are securitized, Sections 85 and 86 no longer apply. Not so. As courts have

recognized, when a national bank has a continuous interest in the loan or relationship with the

borrower—which is the case here, as JPMCB owns the account, charges the interest on a loan, and

indirectly owns an interest in the trust—state usury laws must give way to federal law, regardless

of where the right to receive the principal and interest ends up. For example, in Krispin v. May

Department Stores Co., 218 F.3d 919 (8th Cir. 2000), a bank sold the receivables from a credit

card account to a non-bank department store. When the borrower contested the credit card’s

interest rate under the state’s usury laws, the Eighth Circuit held that the state law was preempted

by the NBA. The “store’s purchase of the bank’s receivables,” the court reasoned, “does not

diminish the fact that it is . . . the bank, and not the store, that issues credit, processes and services

customer accounts, and sets such terms as interest and late fees.” 218 F.3d at 924. Similarly, in

Phipps v. F.D.I.C., 417 F.3d 1006 (8th Cir. 2005), the plaintiffs invoked state law to challenge

various fees under a mortgage loan, including a “finder’s fee” paid by the originating bank to a

non-bank. The plaintiffs argued that the finder’s fee claim was not preempted because it was

essentially paid to a non-bank. The Eighth Circuit disagreed, relying on the fact that the national

bank “was the lender that funded and made the loans and charged the fees.” Id. at 1013.




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               Attempting to circumvent this clear law, Plaintiff relies on the Second Circuit’s

decision in Madden v. Midland Funding, LLC, 786 F.3d 246 (2d Cir. 2015). That reliance is

mistaken. In Madden, a national bank issued the plaintiff’s credit card account, but later wrote off

the debt and sold the account (and all rights to it) to a third-party debt collector that was not a

national bank. 786 F.3d at 248. In short, the national bank severed all ties to the account. The

plaintiff then brought claims against the debt collector alleging that it had violated New York law

by charging a usurious rate of interest on the plaintiff’s credit card debt after her account was sold.

Id.

               In holding that NBA preemption did not apply to the debt collector, far from

disavowing Krispin and Phipps, the Madden court acknowledged and distinguished them. As the

Second Circuit explained, NBA preemption applied in Krispin because (as in this case),

“notwithstanding the bank’s sale of its receivables to [a non-bank], it retained substantial interests

in the credit card accounts so that application of state law to those accounts would have conflicted

with the bank’s powers authorized by the NBA.” Madden, 786 F.3d at 252 n.2. Likewise, the

Second Circuit indicated that NBA preemption would apply in a case like Phipps where (like here)

“the national bank was the entity that charged the interest to which the plaintiffs objected.” Id. at

253.

               In Madden then, the Second Circuit has clearly indicated that NBA preemption

applies to situations where the originating bank retains some relationship to the loan, and that

forecloses Plaintiff’s claims in this case. In the securitization at issue here—like all credit card

securitizations—the sponsoring bank retains complete ownership of the account, as well as the

direct relationship with the borrower, even after the receivables are securitized. See Scott v. Bank

of Am., 580 Fed. App’x 56, 57 (3d Cir. Nov. 3, 2014); cf. Willard v. Bank of Am., 204 F. Supp. 3d




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829, 833 n.4 (E.D. Pa. 2016) (citing decisions by courts in the Fifth, Sixth, Ninth, and Eleventh

Circuits holding that a bank retains an interest in the loan even after securitization). Indeed, a

feature of securitizations more broadly is that the originator retains some link to the loan. For

example, for most securitizations, federal law “require[s] any securitizer”—i.e., a sponsor—“to

retain an economic interest in a portion of the credit risk for any asset that the securitizer, through

the issuance of an asset-backed security, transfers, sells, or conveys to a third party.” 15 U.S.C.

§ 78o-11(b)(1). Securitized loans therefore fall precisely within the class of loans entitled to

preemption under Madden.19

       B.      The Application of State Usury Laws to Securitized Loans Is Also Preempted
               Under the Dodd-Frank Act Because It Would Significantly Interfere With
               National Banks’ Power to Make and Securitize Loans.

               Preemption under Sections 85 and 86 of the NBA aside, state usury law limits are

also preempted under the Dodd-Frank Act, which—codifying the standard adopted in Barnett




19
        As Plaintiff points out in the Complaint, Amici do not endorse Madden, and they previously
urged the U.S. Supreme Court to grant certiorari to review the decision. See Compl., Dkt. No. 1,
¶¶ 81–83. But Plaintiff also incorrectly points to Amici’s amici briefs before the Supreme Court
as evidence that Amici somehow “conceded” that Madden would apply on the facts of this case.
Id. Specifically, Plaintiff points to (1) a brief filed by SFA (under its former name, the Structured
Finance Industry Group), which re-stated Madden’s holding that the NBA does not “preempt the
application of state usury law to sales of bank loans to non-banks,” id. ¶ 82 (quoting Brief of the
Structured Finance Industry Group, Inc., et al. as Amici Curiae in Support of Petitioners, Midland
Funding, LLC v. Madden, No. 15-610, at 3 (Dec. 10, 2015)); and (2) a brief filed by a predecessor of
BPI, which explained that after Madden, “firms have removed loans made to borrowers in the
Second Circuit from asset-backed securitizations due to usury concerns,” id. ¶ 83 (quoting Brief
of the Clearing House Association L.L.C. et al. as Amici Curiae Supporting Petitioners, Midland
Funding, LLC v. Madden, No. 15-610, at 23 (Dec. 10, 2015)). Neither brief in any way
“concede[s]” that Madden applies to securitizations. Instead, the briefs merely noted the Second
Circuit’s holding that NBA preemption does not apply when a bank transfers the entirety of its
interest in a loan to a non-bank, identified the uncertainty in the market following Madden, and
pointed out that some firms saw the risk—borne out by this lawsuit—that others might try to extend
Madden improperly to the securitization context. But for the reasons explained in this brief and
Defendants’ motion, that extension is entirely unwarranted.



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Bank of Marion County, N.A. v. Nelson, 517 U.S. 25 (1996)—declares that “[s]tate consumer

financial laws are preempted” if they “prevent[] or significantly interfere[] with the exercise by [a]

national bank of its powers.”      Dodd-Frank Act § 1044, 12 U.S.C. § 25b(b)(1)(B) (2012).

Specifically, subjecting a national bank to the usury law limits of the numerous states in which it

originates loans, if it wishes to retain the option to securitize those loans, would significantly

interfere with the national bank’s federally conferred power to “make, sell, purchase, participate

in, or otherwise deal in loans . . . subject to such terms . . . prescribed by . . . Federal law.” 12

C.F.R. § 7.4008(a); see also 12 C.F.R. § 34.3(a).

               Securitizations and other secondary market transactions are based on the predicate

that the same interest rate that the originating bank charged prior to securitization will continue to

apply after securitization. Indeed, securitizations are structured and their cash flows are modeled

on this basis. The value of a loan that a bank originates includes the interest that the bank can

charge on the loan; uncertainty over the validity of the interest rate if the loan is securitized thus

severely compromises the value of the loan. In this way, subjecting securitized loans originated

by a national bank to the usury laws of all the states where the loans were made would significantly

interfere with a national bank’s powers by compromising the substantial benefits conferred by

Section 85 of the NBA.

               If state usury limits applied to securitized loans, national banks would be forced to

either (i) forgo loan securitization in order to maintain the benefits of preemption under Section

85; or (ii) originate loans in compliance with each individual state’s usury law, in order to preserve

the option of securitization.    Either alternative would substantially interfere with a bank’s

operations, in violation of 12 U.S.C. § 25b(b)(1)(B).




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                As to the first option, it is clear that effectively compelling banks to forgo

securitizations would improperly intrude on their statutorily granted powers. For example, when

one state passed a law that expanded the scope of liability for assignees of certain mortgage loans,

the OCC opined that the state law was inconsistent with “the exercise of national banks’ real estate

lending powers, including the power . . . to securitize these loans,” and that the state law was

therefore preempted. Preemption Determination and Order, 68 Fed. Reg. 46,264-02, 46,278–79

(Aug. 5, 2003) (emphasis added). Courts have reached similar conclusions. See, e.g., Olvera v.

Blitt & Gaines, P.C., 431 F.3d 285, 288–89 (7th Cir. 2005) (Posner, J.) (bank would be improperly

“deprived” of power to transfer interest in loan if original interest rate could not be charged post-

transfer); Strike v. Trans-West Discount Corp., 155 Cal. Rptr. 132, 139 (Cal. Ct. App. 1979)

(restriction of bank’s ability to access secondary loan market “would be disastrous in terms of bank

operations and not conformable to the public policy” of exempting banks from usury laws).

                As to the second option, subjecting national banks to a patchwork of dozens of state-

law usury limits would impose an extraordinary burden on them. For any loans that a bank might want

to securitize at some point, it would have to forgo its rights under Section 85 and comply with the usury

laws of each individual jurisdiction. As a result, instead of employing standardized loan products and

nationwide underwriting programs, national banks would be forced to establish different lending

programs for each state. Further, the question of state usury is not limited to a simple analysis of a

stated percentage rate (or, often, rates); it also entails a detailed and complex analysis of what is deemed

to constitute interest (e.g., fees) for this purpose. Employing state-specific lending programs would

therefore significantly increase the costs and administrative burden of loan origination for the many

banks that make loans to borrowers in multiple states.

                Thus, applying state usury limits to securitized loans would significantly interfere

with national banks’ lending powers, regardless of whether banks seek to comply with those limits


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in order to continue securitization or forgo securitization to retain their rights under Section 85.

For this reason, Plaintiff’s state usury law claims are preempted under 12 U.S.C. § 25b(b)(1)(B).

III.     A RULING THAT THE NBA DOES NOT PREEMPT STATE USURY LAWS FOR
         SECURITIZED LOANS WILL SIGNIFICANTLY IMPAIR LENDING MARKETS.

         A.    Requiring National Banks to Comply With Dozens of State Usury Laws Would
               Restrict the Availability of Credit.

               The scope of Plaintiff’s proposed outcome cannot be understated. It would not be

limited to the parties and securitizations at issue in this case, or even just the credit card

securitization market more broadly. Instead, the rule Plaintiff proposes—that all loans will

suddenly be subject to dozens of state usury laws when their receivables are securitized—could

affect trillions of dollars in outstanding MBS and ABS.

               Aside from the intrusion on banks’ statutorily granted powers discussed in

Section II.B. above, the rule Plaintiff advocates for would negatively impact U.S. credit markets

more broadly. If banks could not securitize loans, or if their ability to do so was restricted, banks

would be forced to reduce the amount of credit they extend and to increase the costs for the reduced

amount of credit they do extend. See Olvera, 431 F.3d at 288 (noting that restricting the right of

banks to assign the loans they originate would cause creditors to “pass much of the higher expense

on to their customers in the form of even higher interest rates” and would “make the credit market




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operate less efficiently”).20 The reduction in bank lending would result in higher borrowing costs

and fewer borrowers being able to obtain credit, all to the detriment of the economy.21

               Likewise, banks that choose to create separate lending programs to comply with

each individual state’s usury limits may be unwilling to extend credit to higher-risk borrowers in

states with low interest-rate limits. Loss rates and the other costs of providing credit mean that

banks cannot profitably provide revolving credit cards to consumers with poor credit

characteristics unless they charge interest rates higher than those permitted under some usury laws.

If a state’s allowable interest rate is not high enough to justify the increased risk involved in making

loans to individuals and businesses with lower credit scores, banks will tighten underwriting

standards and cease extending credit to those borrowers altogether.22


20
         See also Karen Gordon Mills & Brayden McCarthy, The State of Small Business Lending:
Innovation and Technology and the Implications for Regulation 32 (Harvard Bus. Sch. Working
Paper No. 17-042, 2016), http://www.hbs.edu/faculty/Publication%20Files/17-042_30393d52-
3c61-41cb-a78a-ebbe3e040e55.pdf (observing that when the market for the securitization of
small-business loans froze up in the winter of 2008–2009, “[s]mall businesses, even those in good
standing, were having credit lines pulled by banks who could not afford to extend the credit due
to their sudden capital constraints”).
21
        See James McAndrews, Exec. Vice President & Dir. of Research, Fed. Reserve Bank of
N.Y., Credit Growth and Economic Activity After the Great Recession, Remarks at the Economic
Press Briefing on Student Loans (Apr. 16, 2015), https://www.newyorkfed.org/newsevents/
speeches/2015/mca150416 (“[T]he impairment of banks’ ability to extend credit . . . has the
potential to hinder investment and adversely affect the overall economy.”); Burcu Duygan-Bump
et al., Financing Constraints & Unemployment: Evidence from the Great Recession 1 (Fed.
Reserve       Bank       of      Bos.       Working        Paper      No.     QAU10-6,          2011),
https://www.bostonfed.org/publications/risk-and-policy-analysis/2010/financing-constraints-and-
unemployment-evidence-from-the-great-recession.aspx (“Unlike larger firms, which have broader
access to capital markets, small businesses are highly dependent on bank financing. An important
implication is that any kind of disruption in the flow of bank credit may have significant real effects
on the labor market.” (citation omitted)).
22
        See Michael Staten, The Impact of Credit Price and Term Regulations on Credit Supply 9–
14 (Joint Ctr. for Hous. Studies of Harvard Univ. Working Paper No. UCC08-8, 2008),
http://www.jchs.harvard.edu/sites/jchs.harvard.edu/files/ucc08-8_staten.pdf      (summarizing
empirical work that finds rate ceilings decrease the availability of credit).



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                Further, the outcome of this case will impact the willingness of investors to

participate in securitizations. Instead of simply looking at whether the originating bank complied

with Section 85—which allows a national bank to charge interest at a rate up to that allowed in the

state where it is located—investors would need to evaluate the usury laws independently to

determine which state’s law applies, and how it applies, for every loan included in the

securitization. That is a hopelessly complex task, unworkable as a practical matter, not only

because many securitizations have vast and heterogeneous pools of loans that would need to be

evaluated against the evolving laws of fifty states, but also because state usury laws vary widely

from state to state, often setting different interest rate limits and including different calculations of

interest for different types of loans. The costs of non-compliance with usury laws can be severe,

including the loss of all interest and, in some cases, principal. See, e.g., N.Y. Gen. Oblig. Law

§ 5-511; Conn. Gen. Stat. § 37-8. Indeed, many states impose criminal penalties for charging

interest above certain levels.23 As a result, fewer investors will be willing or able to purchase

securities backed by bank loans. And those investors still willing to invest in securitizations

backed by bank loans will likely require higher risk premiums, leading to higher borrowing costs

and lower credit availability, especially for those with impaired credit history and small businesses

that tend to be subject to higher interest rates.

                The negative consequences of restricting securitization and other secondary market

transactions are not just theoretical. These aforementioned effects were felt in Georgia in the early

2000s after the state upended expectations in the secondary loan market by significantly expanding

the scope of liability of mortgage assignees. See 2002 Ga. Laws 455, § 7-6A-6. In response,


23
        See, e.g., N.Y. Penal Law § 190.40 (interest in excess of 25% is a felony punishable by up
to four years imprisonment and/or $5,000 fine); Mich. Comp. Laws Ann. § 438.41 (interest in
excess of 25% is punishable by up to five years imprisonment and/or $10,000 fine).



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ratings agencies ceased rating securities backed by mortgage loans originated in Georgia,

explaining that they could not evaluate the potential risk to investors resulting from this law. See

Henry Unger & Robert Luke, Compromise Reached on Georgia Lending Law, Atlanta J.-Const.,

Feb. 1, 2003, 2003 WLNR 19578731. Financial institutions refused to buy mortgage loans

originated in Georgia, and a number of lenders withdrew or substantially limited their operations

in the state—effectively shutting off vital sources of liquidity in the state’s lending market. Id.

Faced with an impending crisis and enormous harm to consumers, Georgia amended the law to

limit assignee liability. See id.; 2003 Ga. Laws 1, § 1.

               Similar effects will likely be felt in this District if this Court were to hold that NBA

preemption does not extend to loans after their receivables are securitized. If Plaintiff’s claims are

allowed to continue, lenders’ and investors’ fears will be confirmed, and the availability of credit

in the Second Circuit—and potentially beyond—is likely to deteriorate further. The Court should

instead restore confidence to the markets by reaffirming the NBA’s preemptive effect in the

context of securitizations of loans originated by banks.

       B.      The Banking Industry and Investors Have Relied on the Continued
               Application of NBA Preemption to Securitizations.

               Finally, a ruling that NBA preemption does not apply to securitized loans would

also have costly consequences for the many investors that have already purchased securities

backed by debt receivables in reliance on the courts’ long recognition of NBA preemption for

securitizations. As noted in Section I.A. above, modern asset securitization has been occurring

since the 1970s, and the basic practice of securitizing cash flows has existed as a financial tool for

centuries. If claims like the ones brought by Plaintiff are allowed to go forward, securitization

trusts and depositors could face a wave of legal disputes premised solely on their receiving interest

payments as permitted in loan agreements.


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               Amici are not aware of any court decision that has identified any reason for treating

securitized loans differently than loans in the originating bank’s portfolio for purposes of state

usury law preemption—indeed, when asked, courts have recognized that securitization does not

change the basic relationship between a lender and borrower. See supra Section II.A. Market

participants therefore continue to invest hundreds of billions of dollars each year in new MBS and

ABS based to some extent on the expectation that the courts will continue to apply NBA

preemption to securitized loans. See supra Section I.D. This Court should be hesitant to upset

these reasonable expectations. See Payne v. Tennessee, 501 U.S. 808, 828 (1991) (noting that

considerations in favor of adhering to earlier precedents “are at their acme in cases involving

property and contract rights, where reliance interests are involved”).

                                         CONCLUSION

               For the foregoing reasons, this Court should hold that Plaintiff’s claims are

preempted by federal law.




Dated: August 13, 2019                                Respectfully submitted,


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